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  IT IS HEREBY ADJUDGED and DECREED that the
  below described is SO ORDERED.


  Dated: September 05, 2023.

                                                             ________________________________________
                                                                        MICHAEL M. PARKER
                                                                UNITED STATES BANKRUPTCY JUDGE
  ________________________________________________________________


                             IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE WESTERN DISTRICT OF TEXAS
                                         WACO DIVISION

  IN RE:                                             §
                                                     §
  KRISTINA MEREIDTH WILSON,                          §           CASE NO. 23-60459-MMP
                                                     §
                    DEBTOR.                          §           CHAPTER 13

                                 ORDER TO APPEAR AND SHOW CAUSE

           The Court considered the docket sheet in the above-captioned case and determined that the

  above-captioned Debtor previously filed the following cases, either jointly or individually:

    Prior Case No.       District     Date Filed    Chapter     Disposition     Date of Disposition
    23-60271-mmp        W.D. Tex.     06/05/2023      13        Dismissed          06/21/2023
     14-60075-rbk       W.D. Tex.     01/31/2014       7        Discharged         05/08/2014

           Because of the filing of several cases, it will be necessary for the Court to conduct a show-

  cause hearing to determine whether Case No. 23-60459-mmp should be dismissed. It is, therefore,

           ORDERED that the above-captioned Debtor and Debtor’s attorney appear before this Court

  on TUESDAY, SEPTEMBER 26, 2023, AT 1:30 P.M. in the United States Bankruptcy Court for
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  the Western District of Texas, United States Courthouse, 800 Franklin Avenue, Waco, Texas, and

  show cause as to why Case No. 23-60459-mmp should not be dismissed.

         Parties are required to appear at the hearing in person. If counsel or a party wishes to attend

  the hearing remotely by video via the Court’s WebEx platform or telephone, they may file a request

  with Judge Parker in CM/ECF using the “Other” category and may appear remotely only with

  leave of court.

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